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17                          UNITED STATES DISTRICT COURT
18                        SOUTHERN DISTRICT OF CALIFORNIA
19
20    U.S. EQUAL EMPLOYMENT                               Case No.: 18cv1853-W-AGS
      OPPORTUNITY COMMISSION,
21
                                         Plaintiff,       MEMORANDUM OF POINTS AND
22                                                        AUTHORITIES IN SUPPORT OF
      v.                                                  MOTION TO DISQUALIFY MARK
23
                                                          KOORENNY AS COUNSEL
      BAY CLUB FAIRBANKS RANCH, LLC
24
      d/b/a FAIRBANKS RANCH COUNTRY
                                                          Hon. Thomas J. Whelan
25    CLUB, FAIRBANKS RANCH
                                                          United States District Judge
      COUNTRY CLUB, INC. AND DOES 1-
26                                                        Date: September 16, 2019
      10, INCLUSIVE,
                                                          NO ORAL ARGUMENT PURSUANT TO
27                                  Defendants.           CIVIL LOCAL RULE 7.1(d)(1)
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2       I.        INTRODUCTION
 3             Defendant Bay Club Fairbanks Ranch, LLC d/b/a Fairbanks Ranch Country Club
 4    (“Bay Club”) is currently represented by attorneys at Buchalter APC and Mark Koorenny
 5    of the Koorenny Law Firm in this Title VII action filed by Plaintiff United States Equal
 6    Employment Opportunity Commission (“EEOC”). However, Mr. Koorenny’s involvement
 7    in this case far exceeds this role. Mr. Koorenny is also General Counsel for Bay Club, a
 8    central witness who is almost certain to testify at trial as to important underlying facts of
 9    the case, the sole or primary individual responsible for the internal investigation into the
10    allegations of sexual harassment, and, thus far, the sole party representative for Bay Club
11    to have appeared before the Court. These multiple conflicting roles render it impossible for
12    Mr. Koorenny to fulfill his ethical responsibilities to his client and the Court and threaten
13    the fair administration of justice in this case. Mr. Koorenny has been and will continue to
14    be intricately involved in the litigation. However, these significant conflicts should
15    preclude him from continuing in his capacity as co-counsel for Defendant Bay Club.
16    Accordingly, the EEOC respectfully moves the Court for an order disqualifying Mark
17    Koorenny as counsel for Defendant Bay Club pursuant to Local Civil Rule 83.4(b),
18    California Rules of Professional Conduct 3.7(a) and 1.7(b) and the Court’s inherent
19    authority.
20       II.       RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
21             On August 8, 2018, following an investigation into the rampant sexual harassment
22    of a class of female employees at Fairbanks Ranch Country Club in Rancho Santa Fe, the
23    EEOC filed this action for sexual harassment, constructive discharge, and retaliation under
24    Title VII of the Civil Rights Act of 1964 and Title I of the Civil Rights Act of 1991 against
25    the employer-defendants Bay Club and Fairbanks Ranch Country Club, Inc. (“FRCCI”) on
26    behalf of Charging Party Sidney Scott and a class of similarly aggrieved female employees.
27    (EEOC Complaint, ECF No. 1).
28

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 1          Bay Club is currently represented by attorneys at Buchalter APC and by Mark
 2    Koorenny of Koorenny Law Group.1 Mr. Koorenny has not filed a formal notice of
 3    appearance in this case but is listed on the header of multiple filings by Bay Club and in
 4    discovery-related documents. See ECF Nos. 7, 10, 16. Further, in a procedurally improper
 5    privilege log submitted to the EEOC on July 15, 2019, Bay Club appears to be asserting
 6    attorney-client privilege over communications between Mr. Koorenny and various Bay
 7    Club employees. Bay Club Privilege Log, Exhibit A to Decl. of L. Crosby. Bay Club has
 8    also indicated that it intends to assert attorney work product protections over issues relevant
 9    to Mr. Koorenny’s deposition. June 11, 2019 Email from Bay Club Counsel, Exhibit B to
10    Decl. of L. Crosby.
11          However, Mr. Koorenny has been highly involved in this matter in other conflicting
12    capacities prior to the EEOC investigation and through today. In addition to appearing as
13    co-counsel in this case as part of the Koorenny Law Group, to the EEOC’s knowledge, Mr.
14    Koorenny remains General Counsel for Bay Club and has participated in both the litigation
15    and investigation in that capacity. See, e.g., April 2017 Emails Between EEOC Investigator
16    and M. Koorenny, Exhibit C to Decl. of L. Crosby; Ex. B to Decl. of L. Crosby. Mr.
17    Koorenny appears to have attended the Early Neutral Evaluation in his capacity as party
18    representative; no other representative from Bay Club attended. See ECF No. 17 at 2
19    (requiring personal appearances of party or party representative with full settlement
20    authority at the ENE); ECF No. 30. Most significantly Mr. Koorenny has represented to
21    the EEOC that he was the primary or sole investigator responsible for the internal
22    investigation of Ms. Scott’s allegations of sexual harassment. See, e.g., Ex. C to Decl. of
23    L. Crosby. Specifically, in an email regarding the EEOC’s Request for Information as to
24    any internal investigation conducted by Bay Club, Mr. Koorenny states that “[a]s part of
25    that ‘investigation’” he spoke with Shant Karian and “staff (both front and back of the
26
27
      1
        The Buchalter APC attorneys, Tracy Warren and Kathryn Fox, have formally appeared
28    in the case and are not the subject of this motion to disqualify.
                                                     2
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 1    house in F&B).” Id. According to Mr. Koorenny, this investigation took place once Bay
 2    Club first received notice of the claim, which was prior to the filing of the EEOC Charge
 3    and any EEOC investigation. Id.
 4          As a result of Mr. Koorenny’s prolonged, substantial involvement in the underlying
 5    facts of this case, in particular those directly relevant to Bay Club’s liability for unlawful
 6    discrimination under Title VII, the EEOC listed Mr. Koorenny as a witness on its first
 7    supplemental disclosures pursuant to Rule 26(a)(1) on June 25, 2019. See Decl. of L.
 8    Crosby. Bay Club has represented that Mr. Koorenny will be made available for deposition.
 9    See July 22, 2019 Email from Bay Club Counsel, Exhibit D to Decl. of L. Crosby. The
10    EEOC has noticed Mr. Koorenny’s deposition for early September. Despite requests by
11    counsel for Defendant FRCCI and the EEOC, to this date Mr. Koorenny has failed to file
12    a Notice of Appearance or otherwise clarify his role. See Excerpts from Transcript from
13    July 18, 2019 Disc. Conference, Exhibit E to Decl. of L. Crosby; June 21, 2019 Email from
14    FRCCI Counsel, Exhibit F to Decl. of L. Crosby; Decl. of L. Crosby at ¶3. At the same
15    time, Mr. Koorenny continues to appear in his various capacities in this litigation despite
16    the increasingly problematic personal and professional ethical conflicts resulting from
17    these conflicting roles.
18          On July 30, 2019, the EEOC sent a letter to Bay Club attorneys Tracy Warren and
19    Kathryn Boyd Fox notifying them of the EEOC’s concerns with Mr. Koorenny’s ethical
20    conflicts, requesting clarification on his involvement in this case, and advising of the
21    EEOC’s intent to file the instant motion if necessary. The EEOC has not received any
22    response to this inquiry. See Decl. of L. Crosby at ¶3.
23       III.   LEGAL STANDARD ON DISQUALIFICATION OF COUNSEL
24          Federal courts in California apply California state law when considering
25    disqualification motions. In re Cty. of Los Angeles, 223 F.3d 990, 995 (9th Cir. 2000);
26    Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 967 (9th Cir. 2009) (“By virtue of the district
27    court’s local rules, California law controls whether an ethical violation occurred.”). “A trial
28    court’s authority to disqualify an attorney derives from the power inherent in every court

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 1    ‘[t]o control in furtherance of justice, the conduct of its ministerial officers, and of all other
 2    persons in any manner connected with a judicial proceeding before it, in every matter
 3    pertaining thereto.” Kennedy v. Eldridge, 135 Cal. Rptr. 3d 545, 550 (Ct. App. 2011); see
 4    also Bernhoft Law Firm, S.C. v. Pollock, No. 12-CV-1608 W BLM, 2013 WL 542087, at
 5    *1 (S.D. Cal. Feb. 12, 2013); Allergia, Inc. v. Bouboulis, No. 14-CV-1566 JLS (RBB),
 6    2015 WL 11735651, at *2 (S.D. Cal. May 5, 2015); Crenshaw v. MONY Life Ins. Co., 318
 7    F. Supp. 2d 1015, 1020 (S.D. Cal. 2004); Brighton Collectibles, Inc. v. Coldwater Creek
 8    Inc., No. 08-CV-2307-H (WVG), 2009 WL 10671353, at *2 (S.D. Cal. Dec. 8, 2009) (“The
 9    right to disqualify counsel is within the discretion of the trial court as an exercise of its
10    inherent powers.”). “The paramount concern must be to preserve public trust in the
11    scrupulous administration of justice and the integrity of the bar.” People ex rel. Dept. of
12    Corps. v. SpeeDee Oil Change Sys., Inc., 980 P.2d 371, 378 (Cal. 1999). Although
13    disqualification motions involve serious considerations that must be carefully scrutinized,
14    “[t]he important right to counsel of one’s choice must yield to ethical considerations that
15    affect the fundamental principles of our judicial process.” Collins v. State of Cal., 18 Cal.
16    Rptr. 3d 112, 120 (Ct. App. 2004); Shurance v. Planning Control Int’l, Inc., 839 F.2d 1347,
17    1349 (9th Cir. 1988); Crenshaw, 318 F. Supp. 2d at 1020 (explaining that motions to
18    disqualify are subjected to “particular judicial scrutiny”).
19           Under Civil Local Rule 83.4(b),
20           Every member of the bar of this court and any attorney permitted to practice
             in this Court must be familiar with and comply with the standards of
21
             professional conduct required of members of the State Bar of California,
22           which are now adopted as standards of professional conduct of this court. No
             attorney permitted to practice before this court will engage in any conduct
23
             which degrades or impugns the integrity of the court or in any manner
24           interferes with the administration of justice within the Court.
25
      CivLR 83.4(b). Thus, a party may move for disqualification of counsel based on a violation
26
      of the California Rules of Professional Conduct (“CRPC”). See, e.g., Tobin v. BC Bancorp,
27
      No. 09CV0256 DMS (CAB), 2009 WL 10671925, at *2 (S.D. Cal. Nov. 10, 2009).
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 1          In this case, the EEOC respectfully requests that the Court disqualify Mark
 2    Koorenny, co-counsel for Defendant Bay Club, on the grounds that he will be unable to
 3    comply with his ethical responsibilities under CRPC 3.7(a) and 1.7(b) due to his
 4    involvement in the factual circumstances underlying this Title VII action and status as
 5    General Counsel for Bay Club.
 6        IV.   MR. KOORENNY SHOULD BE DISQUALIFIED UNDER CRPC 3.7(a)
 7              BECAUSE HIS FURTHER PARTICIPATION AS COUNSEL AND
 8              WITNESS IN THIS CASE WILL IMPEDE THE ADMINISTRATION OF
 9              JUSTICE, UNFAIRLY PREJUDICE THE EEOC, AND RESULT IN A
10              CONFLICT BETWEEN MR. KOORENNY AND BAY CLUB.
11          The EEOC initially moves for this Court to disqualify Mr. Koorenny on the grounds
12    that his continued representation of Bay Club in this litigation will violate CRPC’s
13    prohibition on attorneys acting as advocates in trial where the lawyer is also likely to be a
14    witness. Rule 3.7(a) of the CRPC provides:
15          A lawyer shall not act as an advocate in a trial in which the lawyer is likely to
            be a witness unless: (1) The lawyer’s testimony relates to an uncontested issue
16
            or matter; (2) The lawyer’s testimony relates to the nature and value of legal
17          services rendered in the case; or (3) The lawyer has obtained informed written
            consent from the client.…
18
19    CRPC 3.7(a)2; see also Model Rules of Prof’l Conduct r.3.7 (Am. Bar Ass’n). This rule
20    reflects a necessary protection against the inherent conflict between the roles of advocate
21    and witness. See Kennedy, 135 Cal. Rptr. 3d at 554 (quoting People v. Donaldson, 113 Cal.
22    Rptr. 2d 548, 555–56 (Ct. App. 2001)) (“An advocate who becomes a witness is in the
23
24
      2
25      On May 10, 2018, the California Supreme Court issued an order approving the new Rules
      of Professional Conduct, which went into effect November 1, 2018. Because case law on
26    the new rules is limited, most of the cases cited reference the previous versions of both
27    Rule 3.7 (Rule 5-210) and Rule 1.7 (Rule 3-310). The new rules remain similar to the old
      rules with respect to the issues relevant to this motion. Accordingly, case law interpreting
28    the previous versions of each rule remains instructive.
                                                    5
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 1    unseemly and ineffective position of arguing his own credibility. The roles of an advocate
 2    and of a witness are inconsistent; the function of an advocate is to advance or argue the
 3    cause of another, while that of a witness is to state facts objectively.”). Advocate-witness
 4    rules such as CRPC 3.7 protect against harm to the integrity of the litigation process by
 5    preventing situations where a lawyer may appear to vouch for his or her own credibility,
 6    where the opposing counsel is placed in the difficult position of challenging the credibility
 7    of another advocate in the same case, and where jury confusion may result from one
 8    individual acting as both witness and advocate. See, e.g., Lyle v. Super. Ct., 175 Cal. Rptr.
 9    918, 925 (Ct. App. 1981); Murray v. Metro. Life Ins. Co., 583 F.3d 173, 178 (2d Cir. 2009)
10    (analyzing a similar advocate-witness rule in New York). Courts in California have “firmly
11    embraced the ethical prohibition against an attorney taking on the dual roles of advocate
12    and witness.” Kennedy, 135 Cal. Rptr. 3d at 555; Comden v. Super. Ct., 576 P.2d 971 (Cal.
13    1978) (“An attorney who attempts to be both advocate and witness impairs his credibility
14    as witness and diminishes his effectiveness as advocate.”).
15          First, Mr. Koorenny is almost certain to be a central fact witness who will be called
16    to testify at a deposition and a jury trial due to his significant involvement in the facts
17    underlying this Title VII action. The EEOC brings claims for sexual harassment,
18    constructive discharge, and retaliation against Defendants on behalf of a group of young,
19    female claimants who were employed at the Fairbanks Ranch Country Club by Defendants.
20    See ECF No. 1. These young victims allege in part that they were subjected to
21    discrimination and severe sexual harassment by manager Shant Karian and/or co-worker
22    Roman Savedra in violation of Title VII. Id.
23          To the EEOC’s knowledge, Mr. Koorenny has been General Counsel for Defendant
24    Bay Club at all relevant times during and previous to this litigation. Significantly, Mr.
25    Koorenny also played a central role in Bay Club’s response to notice of Ms. Scott’s
26    allegations. In an email to the EEOC during the EEOC investigation, Mr. Koorenny
27    represented that he spoke with Mr. Karian, the alleged harasser, following notice of Ms.
28    Scott’s allegations via a communication from the California Employment Development

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 1    Department. Mr. Koorenny was present when Mr. Karian resigned his employment. See
 2    Ex. C to Decl. of L. Crosby. He further asserted that he spoke with various employees as
 3    part of efforts to investigate Ms. Scott’s claims. Id. Accordingly, Mr. Koorenny is an
 4    important fact witness for purposes of discovering and proving the factual circumstances
 5    of this case, particularly with respect to Bay Club’s remedial efforts, knowledge of
 6    discrimination, adequacy of any internal investigation, and Mr. Karian’s resignation.
 7          A crucial portion of Title VII litigation is establishing the vicarious liability of an
 8    employer for the discriminatory actions of its employees. The extent of what the employer
 9    knew or should have known regarding the discriminatory conduct and harassment, and the
10    extent of any remedial and/or preventative measures to prevent and promptly correct the
11    harassment is highly likely to be necessary in the course of this litigation and at trial. See,
12    e.g., Star v. West, 237 F.3d 1036, 1038 (9th Cir. 2001); Hardage v. CBS Broad., Inc., 427
13    F.3d 1177, 1183 (9th Cir. 2005); Pa. State Police v. Suders, 542 U.S. 129, 145–46 (2004).3
14    Further, the EEOC has included a request for punitive damages in its prayer for relief. See
15    ECF No. 1 at 9. Punitive damages are available under Title VII where, as here, an employer
16    engaged in discriminatory practices with reckless indifference to the federally protected
17    rights of aggrieved individuals. 42 U.S.C. § 1981a(b)(1); Kolstad v. American Dental
18    Ass’n, 527 U.S. 526, 536 (1999). Mr. Koorenny is a key witness as to Defendant Bay Club’s
19    liability and punitive damages because he appears to have taken the lead in directing Bay
20    Club’s response to the allegations of harassment once they were on notice of Ms. Scott’s
21    claims. Mr. Koorenny’s actions in the course of his purported internal investigation and
22    the content of his conversations with employees, as well as his anticipated testimony about
23    the absence of other remedial measures, are relevant and highly probative to this case. See
24
25
26    3
       However, Defendant Bay Club has not asserted any Ellerth-Faragher defense and
27    should be precluded from arguing this defense with respect to the actions by the alleged
      discriminating officials. See Hardage, 427 F.3d at 1183 (quoting Montero v. Agco Corp.,
28    192 F.3d 856, 861 (9th Cir. 1999)).
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                                                                                      18cv1853-W-AGS
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 1    Fed. R. Evid. 401. Further, Mr. Koorenny is in a unique position to provide factual
 2    testimony about the events at Fairbanks Ranch Country Club. Based on his representations
 3    to the EEOC during the investigation, Mr. Koorenny appears to be the sole or primary Bay
 4    Club representative who purportedly spoke with Mr. Karian and other Bay Club employees
 5    to investigate Ms. Scott’s claims. Thus, it is unlikely that the Parties will be able to discover
 6    this important evidence without Mr. Koorenny’s testimony. See Tobin, 2009 WL
 7    10671925, at *3 (citing Smith, Smith & Kring v. Super. Ct., 70 Cal. Rptr. 2d 507, 511–12
 8    (Ct. App. 1997) (emphasizing that a court must weigh the genuine need of counsel’s
 9    testimony in a matter); Kennedy, 135 Cal. Rptr. 3d at 555 (granting a motion to disqualify
10    under the former version of the rule because there was a “virtual certainty that [the
11    attorney’s] testimony as a witness…will be necessary”).
12          As Mr. Koorenny’s actions on behalf of Bay Club will be significant to findings on
13    liability and punitive damages, the EEOC anticipates that these will be highly contested
14    issues at trial and throughout this litigation. Thus, the exception in the CRPC for an
15    “uncontested issue or matter” is not applicable. See CRPC 3.7(a)(1). Mr. Koorenny’s
16    testimony will not relate to “the nature and value of legal services rendered in the case.”
17    See CRPC 3.7(a)(2). Finally, the EEOC is unaware of any informed written consent
18    allowing Mr. Koorenny to continue in his capacity as co-counsel. See CRPC 3.7(a)(3). As
19    explained in greater detail infra, even if informed written consent may exist, the Court
20    retains discretion to disqualify an attorney to protect against any misleading of the jury and
21    prejudice to opposing counsel. See Comment No. 3 to CRPC 3.7; Smith, Smith & Kring,
22    70 Cal. Rptr. 2d at 510.
23          The EEOC acknowledges that disqualification is a serious, significant request to
24    make of this Court. However, the EEOC firmly believes that this is a necessary step in light
25    of Mr. Koorenny’s pivotal role as a fact witness as to many material and disputed issues in
26    this case. It is a near certainty that Mr. Koorenny will testify at trial as he appears to have
27    sole knowledge of many of these events. See Ex. C to Decl. of L. Crosby. In fact, Defendant
28    Bay Club has stated that it would offer Mr. Koorenny for deposition. The EEOC has

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 1    noticed the deposition for early September. Accordingly, Mr. Koorenny’s conflicting roles
 2    of witness and advocate will soon have a substantial impact on this case, in the absence of
 3    Mr. Koorenny’s withdrawal or the Court’s intervention and disqualification. At his
 4    upcoming deposition, Mr. Koorenny will be required to uphold his responsibility to provide
 5    truthful testimony in his capacity as a witness and to uphold his ethical duties to represent
 6    the best interests of Bay Club in his capacity as advocate. This is a challenging, if not
 7    impossible, task in this case where the adequacy of Mr. Koorenny’s investigation and the
 8    scope of remedial steps he directed will be at issue and directly challenged under the
 9    EEOC’s theory of the case. Mr. Koorenny’s participation in this case as counsel will
10    prejudice the EEOC by allowing Mr. Koorenny to potentially argue his own credibility as
11    a witness and put EEOC attorneys in the difficult position of impeaching and challenging
12    the credibility of another attorney in the case before a jury. See Kennedy, 135 Cal. Rptr. 3d
13    at 554. This could be unduly influential to the jurors that will eventually hear this case and
14    will impede the fair administration of justice in this case.
15          In addition, the EEOC has reason to believe that Mr. Koorenny is purposefully
16    avoiding formal clarification of his role in order to benefit from the advantages of certain
17    roles and avoid the potential disadvantages of others. For example, despite representations
18    to the EEOC that Mr. Koorenny would testify as a witness, Bay Club also contends that
19    objections based on attorney work product would permeate much of Mr. Koorenny’s
20    deposition and has asserted attorney-client privilege over communications between Mr.
21    Koorenny and other members of Bay Club management during the time frame of his
22    purported internal investigation. See Ex. B to Decl. of L. Crosby; Ex. A to Decl. of L.
23    Crosby. Bay Club is attempting to use the attorney-client privilege and attorney work
24    product doctrines as both a sword and a shield through Mr. Koorenny’s multiple,
25    conflicting roles in this investigation. This is improper and unfairly prejudicial to the
26    EEOC’s efforts to litigate this case and access important testimony and evidence.
27          Most significantly, Mr. Koorenny’s continued participation as co-counsel may
28    eventually lead to juror confusion and undermine the administration of justice. CRPC 3.7

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 1    is intended to protect the integrity of the judicial process and fairness to the parties in
 2    exactly these circumstances. See Kennedy, 135 Cal. Rptr. 3d at 554–56; Lyle, 175 Cal. Rptr.
 3    at 925. Accordingly, the EEOC respectfully requests that the Court disqualify Mr.
 4    Koorenny from representing Defendant Bay Club as co-counsel in this action.
 5       V.      MR. KOORENNY SHOULD BE DISQUALIFIED UNDER CRPC 1.7(b)
 6               BECAUSE HIS REPRESENTATION OF BAY CLUB WILL BE
 7               MATERIALLY LIMITED BY HIS OWN INTERESTS AND HIS
 8               OBLIGATION TO TESTIFY TRUTHFULLY AS A WITNESS.
 9            The EEOC also moves to disqualify Mr. Koorenny from acting as counsel for Bay
10    Club in this litigation pursuant to Local Rule 83.4(b) and CRPC 1.7(b) due to the significant
11    risk that his representation of Defendant Bay Club will be materially limited by Mr.
12    Koorenny’s own personal and professional interests.
13            Rule 1.7(b) of the California Rules of Professional Conduct provides:
14            A lawyer shall not without informed written consent from each affected client
              and compliance with paragraph (d), represent a client if there is a significant
15
              risk the lawyer’s representation of the client will be materially limited by the
16            lawyer’s responsibilities to or relationships with another client, a former
              client, or a third person, or by the lawyer’s own interests.
17
18
      CRPC 1.7(b). Even when the lawyer complies with paragraph (b), representation is only
19
      permitted where,
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              (1) the lawyer reasonably believes that the lawyer will be able to provide
21            competent and diligent representation to each affected client; (2) the
              representation is not prohibited by law; and (3) the representation does not
22
              involve the assertion of a claim by one client against another client represented
23            by the lawyer in the same litigation or other proceedings before a tribunal.
24
      CRPC 1.7(d). “Disqualification of counsel not only prevents attorneys from breaching their
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      ethical duties, but also protects the judicial process from any taint of unfairness that might
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      arise from conflicts of interests.” Sharp v. Next Entm’t, Inc., 78 Cal. Rptr. 3d 37, 49 (Ct.
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      App. 2008). “A conflict arises when the circumstances of a particular case present ‘a
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 1    substantial risk that the lawyer’s representation of the client would be materially and
 2    adversely affected by the lawyer’s own interests . . . .” Id. at 50 (citing Restatement (Third)
 3    of Law Governing Lawyers: Conflicts of Interest § 121 (Am. Law. Inst. 1998)). “Where
 4    such a conflict arises, and an attorney’s continued representation threatens that attorney’s
 5    client with cognizable injury or would undermine the integrity of the judicial process, a
 6    trial court may grant a motion for disqualification.” Bernhoft Law Firm, 2013 WL 542087,
 7    at *2.
 8             In this case, there is a substantial risk that Mr. Koorenny’s continued representation
 9    of Bay Club will be materially limited by Mr. Koorenny’s own personal and professional
10    interests, as well as his obligation to testify truthfully under oath as a central fact witness
11    in this case. This is a violation of Mr. Koorenny’s duties to Bay Club as counsel; however,
12    this also results in unfair prejudice to the EEOC and threatens to undermine the integrity
13    of the judicial process in this case. See CRPC 1.7(b).
14             Under the California Rules of Professional Conduct, attorneys have ethical
15    responsibilities to put their clients’ interests above their own interests and the interests of
16    others. Conflicting interests can result in attorneys being unable to fulfill these duties and
17    are consequently taken seriously by the Courts. See, e.g., Rodriguez, 563 F.3d at 967
18    (“Simultaneous representation of clients with conflicting interests (and without written
19    informed consent) is an automatic ethics violation in California and ground for
20    disqualification.”). In this case, Mr. Koorenny’s participation in multiple different
21    capacities presents unavoidable conflicts that the CRPC aim to prohibit. For one, Mr.
22    Koorenny has a professional relationship with Bay Club extending beyond this case in his
23    capacity as General Counsel to Bay Club. Consequently, Mr. Koorenny has professional,
24    personal, and financial interests in continuing this relationship. Second, Mr. Koorenny
25    seems to have appeared at the ENE in his capacity as the party representative with full
26    settlement authority required to be in attendance pursuant to the February 21, 2019 Order
27    of the Court. ECF No. 17 at 2. As discussed, Mr. Koorenny is also a central witness in this
28    case as he is purportedly the sole or primary investigator who conducted the investigation

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 1    into Ms. Scott’s complaint of sexual harassment. The EEOC will necessarily argue that Mr.
 2    Koorenny’s actions as sole or primary investigator were inadequate and exposed Bay Club
 3    to significant liability in this case under Title VII. Finally, and as challenged in this motion,
 4    Mr. Koorenny continues to appear as co-counsel in various filings and in discovery-related
 5    issues between the parties. These multiple, conflicting roles are too many for one individual
 6    to take on in a single case without violating professional and ethical responsibilities. For
 7    example, Mr. Koorenny may soon be in the uncomfortable position of having to testify
 8    about his actions which are likely to have aided in exposing Bay Club to significant
 9    liability, of being a key decisionmaker as party representative with full settlement authority
10    for Bay Club in this case where his own actions are at issue, and of having to comply with
11    his ethical duties in advising and arguing on behalf of Bay Club as co-counsel.
12          Related to Mr. Koorenny’s likely participation in this case as a witness, Mr.
13    Koorenny has an obligation to testify truthfully at his deposition and at trial. Mr. Koorenny
14    has knowledge relevant to a broad range of underlying facts in this case and it is possible
15    that his testimony will harm Bay Club, which would be inconsistent with his
16    responsibilities to his client. See CRPC 1.7(b). Disqualification would protect Bay Club,
17    prevent Mr. Koorenny from needing to navigate this complex dual role, and protect the
18    integrity of the judicial process. Further, the EEOC will continue to challenge the adequacy
19    of the internal investigation and the remedial steps taken by Bay Club. Thus, the EEOC’s
20    case challenges that Mr. Koorenny’s actions as sole or primary investigator in part
21    subjected Bay Club to liability for unlawful employment discrimination under Title VII. In
22    addition, professional and financial interests in continuing his professional relationship as
23    General Counsel for Bay Club may put additional pressures on Mr. Koorenny’s legal
24    representation and his obligations of truthfulness and candor to the Court. These conflicting
25    interests result in a substantial risk that Mr. Koorenny’s representation of Bay Club will be
26    materially limited by his own interests, his professional and financial interests in his
27    relationship with Bay Club, and his obligations to the Court as a witness. CRPC 1.7(b). In
28    light of these serious ethical considerations, Mr. Koorenny’s continued representation of

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 1    Bay Club in this action threatens to undermine the overall administration of justice in this
 2    case.4 See Sharp, 78 Cal. Rptr. 3d at 49–50.
 3        VI.   OTHER FACTORS GENERALLY CONSIDERED BY COURTS WEIGH
 4              IN FAVOR OF DISQUALIFICATION.
 5          “Depending on the circumstances, a disqualification motion may involve such
 6    considerations as a client’s right to chosen counsel, an attorney’s interest in representing a
 7    client, the financial burden on a client to replace disqualified counsel, and the possibility
 8    that tactical abuse underlies the disqualification motion.” Collins, 18 Cal. Rptr. 3d at 119
 9    (citing SpeeDee Oil Change Systems, Inc., 980 P.2d at 377–78). Courts also consider
10    hardship to the client and, in cases dealing with an advocate-witness ethical issue, the
11    genuine need of counsel’s testimony in the matter. See Smith, Smith & Kring, 70 Cal. Rptr.
12    2d at 511; Tobin, 2009 WL 10671925 at *3. Motions to disqualify are subject to careful
13    examination by courts due to the possibility for tactical abuse and the potential costs to
14    clients. See Sharp, 78 Cal. Rptr. 3d at 48–49.
15          In this case, these factors weigh in favor of disqualification. First, Mr. Koorenny is
16    likely the only source for material, disputed testimony; the EEOC has demonstrated that
17    there is a genuine need for counsel’s testimony in this matter. Further, the EEOC has not
18    filed this motion in bad faith for any abusive tactical reasons. Mr. Koorenny was involved
19    in the underlying facts of this case prior to the filing of this action and prior to any notice
20    of the EEOC investigation and Charge of Discrimination. The EEOC does not seek Mr.
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22
23    4
       As referenced during the discovery conference, on Friday, June 21, 2019, counsel for
      FRCCI sent an email to counsel for the EEOC and Bay Club requesting clarification of
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      Mr. Koorenny’s status in the litigation. Counsel for FRCCI indicated that Mr. Koorenny
25    may also have an attorney-client relationship with Steve Foster, the former President of
      FRCCI. See Exhibit F to Decl. of L. Crosby; Exhibit E to Decl. of L. Crosby. This may
26
      demonstrate another conflict preventing any further representation of Bay Club. To the
27    extent this remains an issue, the EEOC would invite comment from Defendant FRCCI.
      See CRPC 1.7(a); see also CRPC 1.7(b).
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 1    Koorenny’s testimony in order to disqualify him under CRPC 3.7; rather, the EEOC seeks
 2    Mr. Koorenny’s testimony because he is and remains a material witness in this litigation
 3    due to his actions in response to notice of Ms. Scott’s allegations. See Ex. C to Decl. of L.
 4    Crosby. The need for his disqualification follows from those circumstances.
 5          In addition, any hardship to Bay Club as a result of Mr. Koorenny’s disqualification
 6    is minimal because Bay Club has also been represented by attorneys at Buchalter at all
 7    times since the filing of this action. In fact, the attorneys at Buchalter appear to have taken
 8    the lead role in litigation as they have signed a majority of the communications and filings
 9    in this case. (See, e.g., ECF Nos. 7, 10, 16). As Bay Club’s remaining counsel is familiar
10    with the case and has actively litigated this case since its filing, Bay Club will not be
11    burdened by the “duplicate expense and time-consuming effort involved in replacing
12    counsel already familiar with the case.” See Smith, Smith & Kring, 70 Cal. Rptr. 2d at 511.
13    The EEOC does not seek disqualification of any attorney other than Mr. Koorenny. This is
14    reflective of the EEOC’s purpose in the instant motion to protect the administration of
15    justice and avoid unfair prejudice, rather than any purpose to impede the representation of
16    or cause any hardship towards Bay Club.
17          The EEOC has no knowledge as to whether Mr. Koorenny obtained informed,
18    written consent from Bay Club in compliance with the requirements of both CRPC 1.7 and
19    3.7. In the absence of written consent, Mr. Koorenny cannot continue as co-counsel in this
20    litigation. See CRPC 1.7 and 3.7. However, while strong deference is given to client’s
21    choice of counsel where counsel has obtained informed written consent, “[t]he important
22    right of counsel of one’s choice must yield to ethical considerations that affect the
23    fundamental principles of our judicial process.” See Bernhoft Law Firm, 2013 WL 542087
24    at *1. The Comments to both CRPC 1.7 and 3.7 indicate that the Court maintains discretion
25    to disqualify an attorney even where written informed consent exists. See Comment No. 3
26    to CRPC 3.7; Comment No. 8 to CRPC 1.7. Because of Mr. Koorenny’s substantial role in
27    the facts underlying this litigation, his likelihood of appearing as a witness at trial, and the
28    serious conflicts of interests implicated by any continued representation, the EEOC

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 1    requests that this Court exercise its discretion to disqualify Mr. Koorenny, even if informed
 2    written consent exists.
 3          The EEOC has standing to bring this motion because of the significant ethical
 4    concerns at issue in this case and the substantial risk that Mr. Koorenny’s further
 5    involvement would undermine the integrity of the judicial process. While some courts have
 6    limited standing to bring a disqualification motion to clients or former clients, “where an
 7    attorney’s continued representation threatens an opposing litigant with cognizable injury
 8    or would undermine the integrity of the judicial process, the trial court may grant a motion
 9    for disqualification, regardless of whether a motion is brought by a present or former client
10    of recused counsel.” Kennedy, 135 Cal. Rptr. 3d at 550 (noting that “[c]ase law abounds
11    with examples of orders disqualifying counsel that have not been the product of motions
12    by present or former clients.”); see also Smith v. Cook, No. 17-CV-00961-AJB-WVG, 2018
13    WL 1185221, at *3 (S.D. Cal. Mar. 7, 2018) (quoting Colyer v. Smith, 50 F. Supp. 2d 966,
14    971 (C.D. Cal. 1999)) (“non-client litigants may have standing to move for disqualification
15    of counsel in cases where they have a sufficient ‘personal stake’ in the motion because ‘the
16    ethical breach so infects the litigation in which disqualification is sought that it impacts the
17    moving party’s interest in a just and lawful determination of [its] claims.’”). Courts are not
18    required to “stand idly by and permit conflicted counsel to participate in a case merely
19    because neither a client nor former client has brought a motion.” Kennedy, 135 Cal. Rptr.
20    3d at 551; Bernhoft Law Firm, 2013 WL 542087, at *2. At this stage of litigation, it is now
21    imperative that Mr. Koorenny’s role in this action is clarified and appropriately limited.
22    Depositions of multiple victims of the sexual harassment have been noticed for the coming
23    weeks and Mr. Koorenny’s status as a key fact witness related to the investigation and his
24    various ethical conflicts should preclude him from participation or attendance at these
25    depositions. To the extent deemed necessary by the Court following the resolution of this
26    motion, the EEOC requests that Mr. Koorenny file a notice of appearance or otherwise
27    clarify his participation in this litigation. See CivLR 83.3(c)(2) (subject to certain
28    exceptions, limiting practice to those attorneys who are members of the bar of this court);

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 1    see also United States v. Wunsch, 84 F.3d 1110, 1115 (9th Cir. 1996) (determining that the
 2    absence of a formally-filed notice of appearance did not preclude a finding that the attorney
 3    had appeared when considering disqualification and sanctions).
 4          Although a motion for disqualification is a serious request appropriately subject to
 5    careful consideration by the Court, disqualification is warranted and necessary in this case
 6    to protect the “paramount concern” of the “preservation of public trust in the scrupulous
 7    administration of justice and integrity in the bar.” Sharp, 78 Cal. Rptr. 3d at 49. Mr.
 8    Koorenny’s continued representation of Defendant Bay Club is likely to harm Bay Club,
 9    will result in unfair prejudice to the EEOC, and will almost certainly cause significant
10    injury to the integrity of the judicial process. See Smith, Smith & Kring, 70 Cal. Rptr. 2d
11    510–11.
12       VII. CONCLUSION
13          The EEOC respectfully requests that the Court grant this motion and disqualify Mr.
14    Koorenny as counsel for Defendant Bay Club pursuant to Local Civil Rule 83.4(b),
15    California Rules of Professional Conduct 3.7(a) and 1.7(b), and the Court’s inherent
16    authority. In the event the Court denies this motion, the EEOC requests that any denial is
17    without prejudice to file a renewed motion for disqualification at a later stage in litigation.
18
19                                                   Respectfully submitted,
20
                                                     U.S. EQUAL EMPLOYMENT
21
                                                     OPPORTUNITY COMMISSION
22
      DATED: August 2, 2019                          By: s/Lauren N. Crosby
23
                                                     Lauren N. Crosby
24                                                   lauren.crosby@eeoc.gov
                                                     Attorney for Plaintiff EEOC
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